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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

UNITED STATES OF AMERICA
Hon. Joseph A. Dickson

V.
Crim. No. 20-8102

YEZENIA CASTILLO, :
a/k/a “Yezenia Maldanad” : SEALING ORDER

This matter having been brought before the Court upon application of Craig
Carpenito, the United States Attorney for the District of New Jersey (Vijay Dewan
and Sammi Malek, Assistant United States Attorneys, appearing), for an order
sealing the Complaint and Arrest Warrant issued on this date against Defendant
Yezenia Castillo, and for good cause shown,

IT IS on this OF sas of March, 2020,

ORDERED that, except for such copies of the Arrest Warrant as are
necessary to accomplish its purpose, the Complaint, Arrest Warrant, and this
Order be and hereby are SEALED until the Arrest Warrant is executed or until
further order of the Court. IT IS FURTHER ORDERED that, once the Arrest

Warrant is executed that the Complaint, Arrest Warrant, and this Order be and

Oe

HONORABLE JOSEPH A. DICKSON
UNITED STATES MAGISTRATE JUDGE

hereby are unsealed.
